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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

PATRICE CHAMBERS, on behalf of herself and
all others similarly situated,

                            Plaintiff,
                                                                          ORDER
                     – against –
                                                                    19 Civ. 10436 (ER)
HSBC BANK USA, N.A.,

                            Defendant.




RAMOS, D.J.:

         This matter is set for a case management conference on January 20, 2021 at 10 a.m. The

parties are reminded that it will be held remotely and by telephone. To participate, the parties

should dial (877) 411-9748 and enter access code 3029857# when prompted.

         In advance of this conference, the parties are instructed to complete the attached Civil

Case Discovery Plan and Scheduling Order and submit it for the Court’s approval by no later

than January 19, 2021.


It is SO ORDERED.


Dated:    December 28, 2020
          New York, New York


                                                              EDGARDO RAMOS, U.S.D.J.
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UNITED STATES DISTRICT COURT                                                   Rev. Jan. 2012
SOUTHERN DISTRICT OF NEW YORK
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                                                                  CIVIL CASE DISCOVERY PLAN
                                            Plaintiff(s),         AND SCHEDULING ORDER
                 - against -


                                             Defendant(s).               CV                     (ER)

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       This Civil Case Discovery Plan and Scheduling Order is adopted, after consultation with
counsel, pursuant to Fed. R. Civ. P. 16 and 26(f):

        1.       All parties [consent] [do not consent] to conducting all further proceedings before a
                 Magistrate Judge, including motions and trial, pursuant to 28 U.S.C. § 636(c). The
                 parties are free to withhold consent without adverse substantive consequences. (If
                 all parties consent, the remaining paragraphs of this form need not be completed.)

        2.       This case [is] [is not] to be tried to a jury.

        3.       Joinder of additional parties must be accomplished by _______________________.

        4.       Amended pleadings may be filed until _____________________.

        5.       Interrogatories shall be served no later than ___________________, and responses
                 thereto shall be served within thirty (30) days thereafter. The provisions of Local
                 Civil Rule 33.3 [shall] [shall not] apply to this case.

        6.       First request for production of documents, if any, shall be served no later than
                 ____________________.

        7.       Non-expert depositions shall be completed by ____________________________.

                 a.       Unless counsel agree otherwise or the Court so orders, depositions shall not
                          be held until all parties have responded to any first requests for production
                          of documents.

                 b.       Depositions shall proceed concurrently.

                 c.       Whenever possible, unless counsel agree otherwise or the Court so orders,
                          non-party depositions shall follow party depositions.
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      8.      Any further interrogatories, including expert interrogatories, shall be served no later
              than _______________________.

      9.      Requests to Admit, if any, shall be served no later than ______________________.

      10.     Expert reports shall be served no later than ______________________.

      11.     Rebuttal expert reports shall be served no later than ______________________.

      12.     Expert depositions shall be completed by ______________________.

      13.     Additional provisions agreed upon by counsel are attached hereto and made a part
              hereof.

      14.     ALL DISCOVERY SHALL BE COMPLETED BY ______________________.

      15.     Any motions shall be filed in accordance with the Court’s Individual Practices.

      16.     This Civil Case Discovery Plan and Scheduling Order may not be changed without
              leave of Court (or the assigned Magistrate Judge acting under a specific order of
              reference).

      17.     The Magistrate Judge assigned to this case is the Hon.                                   .

      18.     If, after entry of this Order, the parties consent to trial before a Magistrate Judge,
              the Magistrate Judge will schedule a date certain for trial and will, if necessary,
              amend this Order consistent therewith.

      19.     The next case management conference is scheduled for _____________________,
              at ____________. (The Court will set this date at the initial conference.)




      SO ORDERED.

Dated: New York, New York
       _______________________

                                                              _______________________________
                                                              Edgardo Ramos, U.S. District Judge
